          Case 1:02-cv-03343-CAP Document 4 Filed 08/22/03 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 SIRUS SOFTWARE, INC., and TENNIS
 TEHNOLOGIES, INC.,
                       Plaintiff,                          CIVIL ACTION FILE
 vs .                                                      NO . 1 :02-cv-3343-CAP
 FISHER INFORMATION SERVICES, a
 sole proprietorship a/k/a Ronald Fisher,
                       Defendant.

                                      JUDGMENT

        This action having come before the court, Honorable Charles A . Pannell, Jr., United

States District Judge, upon order of the Court directing plaintiff to effectuate service of

process, and the plaintiff having failed to do so, it is

        Ordered and Adjudged that the action is, therefore, DISMISSED without prejudice

for failure of the plaintiff] to comply with a lawful order of this court and for lack of

prosecution .

        Dated at Atlanta, Georgia, this 22nd day of August, 2003 .



                                                             LUTHER D . THOMAS
                                                             CLERK OF COURT


                                                     By:
                                                             Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  August 25, 2003
Luther D . Thomas
Clerk of Court

          1~~v~u               n---
        Deputy Clerk
